

People v Cahill (2020 NY Slip Op 01839)





People v Cahill


2020 NY Slip Op 01839


Decided on March 13, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 13, 2020

PRESENT: WHALEN, P.J., SMITH, PERADOTTO, LINDLEY, AND CURRAN, JJ. (Filed Mar. 13, 2020.) 


MOTION NO. (1573/07) KA 05-00983.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJAMES F. CAHILL, III, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








